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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA            )
                                    )
             v.                     ) CR No. 01-10314-MLW
                                    )
JONATHAN HART, DARRYL GREEN,        )
and BRANDEN MORRIS                  )

                         MEMORANDUM AND ORDER

WOLF, D.J.                                           February 22, 2007

     This memorandum is based upon the transcript of the decision

rendered orally on January 29, 2007, in which the court denied

Jonathan Hart's Motion to Dismiss based on an alleged violation of

the Double Jeopardy Clause of the Constitution.            This memorandum

adds citations, deletes some colloquy, and clarifies some language.

        The most relevant facts are not in dispute.      In 2001, Hart and

others were charged in this case with conspiracy to distribute

crack cocaine (Count 1), distributing crack cocaine on March 28,

2001 (Count 9), and carrying a firearm during and in relation to

drug trafficking on July 25, 2001 (Count 31).

        Hart was subsequently charged in another case with violating

the Racketeering Influenced and Corrupt Organizations ("RICO") Act,

18 U.S.C. §1961 et seq.       That case, United States v. Green, CR-02-

10301-NG, included Branden Morris, one of Hart's co-defendants in

this case.        The alleged March 28, 2001 crack cocaine offense was

also alleged as one of Hart's predicate acts in the Green RICO

case.    Evidence that Hart had a gun on July 25, 2001 was introduced


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in the Green trial to prove Hart's participation in the alleged

RICO enterprise.

      On January 13, 2003, jury selection in this case began.            Many

of Hart's co-defendants pled guilty. Before a jury was empanelled,

the government moved to consolidate this case with the Green RICO

case. Hart opposed consolidation, but this fact is not material to

my analysis.    However, after the government dismissed Count 1, the

conspiracy charge against Hart, on January 16, 2003 Hart agreed

that this case should be stayed pending the outcome of the Green

RICO case.     Green and co-defendant Branden Morris had similarly

agreed to stay this case.        Hart did not, in January, 2003, assert

that a trial of the two remaining counts in this case, Counts 9 and

31,   would   be   barred   by   the   Double   Jeopardy   Clause   of   the

Constitution.      Again, however, I do not rely on this fact in my

analysis.

      In the Green RICO trial, the jury hung on the issue of whether

the government had proven the alleged RICO enterprise.         On January

11, 2006, Judge Nancy Gertner granted Hart's motion for acquittal,

pursuant to Rule 29 of the Federal Rules of Criminal Procedure,

because she found that the evidence was insufficient to prove the

alleged enterprise.     Judge Gertner expressly stated that the jury

did not address the question of whether Mr. Hart had committed the

alleged acts of drug dealing and gun use. United States v. Green,

CR-02-10301-NG, January 11, 2006, Transcript ("Tr.") at 3.             Judge


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Gertner went on to say that the failure to decide those issues did

not reflect on whether those alleged crimes or others should be

prosecuted in state court.    Id.

     Hart, however, now asserts that prosecution of the remaining

counts in this case, Counts 9 and 31, is barred by the Double

Jeopardy Clause as a result of his acquittal in the RICO case.

This contention is incorrect.

     As the United States Court of Appeals for the First Circuit

wrote in United States v. Marino, 277 F.3d 11, 39 (1st Cir. 2002):

     The   Double  Jeopardy   Clause   prohibits    successive
     prosecutions or punishments for the same offense. United
     States v. Ursery, 518 U.S. 267, 273, 116 S.Ct. 2135, 135
     L.Ed.2d 549 (1996). The test to determine whether two
     offenses are considered the same offense for Double
     Jeopardy purposes is set forth in Blockburger v. United
     States, 284 U.S. 299, 52 S.Ct. 180, 76 L.Ed. 306 (1932):
     two offense are separate offenses if each contains an
     element not contained in the other.

In Marino, the First Circuit also reaffirmed that criminal conduct

can be prosecuted and punished both as a RICO predicate and as a

separate substantive crime without violating the Double Jeopardy

Clause.   Id. at 39.   See also United States v. Greenleaf, 692 F.2d

182, 189 (1st Cir. 1982).

     Marino and Greenleaf, among other similar cases, apply the

principles relied upon by the Supreme Court in Garrett v. United

States, 471 U.S. 773 (1985), a continuing criminal enterprise

case, to RICO cases.    In essence, Garrett, Marino, and Greenleaf

reject Hart's contention that Counts 9 and 31 are lesser included


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offenses of the charges in Green and, therefore, may not be

relitigated.    This is the same conclusion that the United States

Court of Appeals for the Third Circuit reached in United States v.

Esposito, 912 F.2d 60, 66 (3d Cir. 1990).

     This court recognizes that the Double Jeopardy Clause bars a

successive prosecution if it will require the religitation of a

factual issue that was necessarily resolved in Hart's favor in the

Green RICO prosecution.        See Ashe v. Swenson, 397 U.S. 436, 444

(1970).    However, as described earlier, there was no general

verdict   returned   in    Green   that   would   require   this   court   to

scrutinize the full record of that case.            The jury hung on the

first question, concerning whether the government had proven the

alleged enterprise.       Judge Gertner granted the Rule 29 motion for

acquittal solely on the insufficiency of the evidence regarding the

alleged enterprise.       She expressly stated that she anticipated the

drug and gun offenses could be prosecuted in state court.            Tr. at

3.   This court now finds that they can also be prosecuted in this

federal case.

     Accordingly, Jonathan Hart's Motion to Dismiss (Docket No.

546-1) is hereby DENIED.




                                           /s/ Mark L. Wolf
                                          UNITED STATES DISTRICT JUDGE

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